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                         UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF MISSISSIPPI


 In re:                                                            Case No. 23-50915-KMS
             Timothy Wayne Davis,
                                                                                  Chapter 13
             Debtor.


            AGREED ORDER GRANTING RELIEF FROM AUTOMATIC STAY

          THIS CAUSE is before the Court on the Motion for Relief from Automatic Stay to the

Extent of Insurance Coverage of the Movant, Anthony Clark, Jr., and with the agreement of the

Creditor, Anthony Clark, Jr., the Trustee, David Rawlings, and the Debtor, Timothy Wayne Davis,

to enter into an Agreed Order lifting the terms and provisions of the automatic stay (to the extent

the stay is applicable herein) related to the pre-petition litigation between Anthony Clark, Jr. and

the debtor, Timothy Wayne Davis, for the limited purpose of allowing the Movant to continue the

pre-petition litigation against the debtor for claims covered by the debtor’s insurance company, if

any, and the Court being advised in the premises is of the opinion that the Motion is well taken

and should be sustained, it is accordingly,

          ORDERED, ADJUDGED AND DECREED that the terms and provisions of the automatic

stay as set forth in 11 U.S.C §362, as they relate to the Debtor are hereby lifted for the limited

purpose to allow the pre-petition litigation against the Debtor initiated by Anthony Clark, Jr. for

the claims covered by the Debtor’s insurance company (but not beyond the limits of coverage

contained in the policy), which is currently pending.



                                      ##END OF ORDER##
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Agreed:

s/Kannan Stubbs
Counsel for Anthony Clark, Jr.

s/
Counsel for Timothy Wayne Davis


________________________
David Rawlings, Trustee



Submitted by:

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